                 UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                   CRIM. NO . 1:22-CR-V\

                  v.
                                             (Judge /JJ~ ~ )
[1] SAMUEL SNADER and
[2] HECTOR COLON,
       Defendants.
                                                                  FILED
                                                              HARRISBURG, PA

                           INDICTMENT                             JA O 2021

THE GRAND JURY CHARGES:                                             EPUTY CLERK


                                COUNT 1
                             18 U.S.C. § 371
           (Conspiracy to Engage in the Business of Dealing and
               Manufacturing Firearms Without a License)

     From on or about August 5, 2021 and continuing to the present, in

Lebanon County, Pennsylvania, within the Middle District of

Pennsylvania and elsewhere, the defendants,

                        [1] SAMUEL SNADER and
                          [2] HECTOR COLON,

knowingly, willfully, and unlawfully conspired and agreed with each

other and other persons, known and unknown to the Grand Jury, to

violate Title 18, United States Code, Section 922(a)(l)(A) , Engaging in

the Business of Dealing and Manufacturing Firearms Without a

License.
                         MANNER AND MEANS

     a.      It was a part and purpose of the conspiracy that Colon and

Snader would coordinate for the acquisition of firearm parts for the

purpose of manufacturing and dealing Privately Made Firearms (PMFs)

     b. It was a part and purpose of the conspiracy that defendant

Colon would coordinate with potential buyers for the purchase of

firearms.

     c.      It was further a part and purpose of the scheme that

defendant Snader would manufacture PMFs which did not possess

serial numbers.

     d.      It was further a part and purpose of the scheme that Colon

would direct the potential buyers to Snader who would personally

deliver the firearms in exchange for United States currency.

                              OVERTACTS

     In furtherance of the conspiracy and to effect the objects of the

conspiracy, the following overt acts, among others were committed by

the defendants and others in the Middle District of Pennsylvania and

elsewhere:




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     1.    On or about August 30, 2021 , Colon coordinated, via

telephone, with a potential buyer for the purchase of six PMFs from

Snader.

     2.    On or about August 30, 2021 , Snader delivered six PMFs to

the buyer in exchange for $6,000 in U.S. currency.

     3.    On or about September 21 , 2021 , Colon coordinated, via

telephone, with a potential buyer for the purchase of five PMFs from

Snader.

     4.    On or about September 22, 2021 , Snader delivered five

PMFs to the buyer in exchange for $5,000 in U.S. currency.

     5.    On or about November 3, 2021 , Colon coordinated, via

telephone, with a potential buyer for the purchase of eight PMFs from

Snader.

     6.    On or about November 3, 2021 , Snader delivered eight PMFs

to the buyer in exchange for $8,000 in U.S. currency.

     7.    On or about November 29, 2021 , Colon coordinated, via

telephone, with a potential buyer for the purchase of nine PMFs from

Snader.




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      8.   On or about December 2, 2021 , Snader delivered nine PMFs

to the buyer in exchange for $9,000 in U.S. currency.

     All in violation of Title 18, United States Code, Section 371.



THE GRAND JURY FURTHER CHARGES:

                                COUNT 2
                       18 U.S.C. § 922(a)(l)(A)
               (Engaging in the Business of Dealing and
              Manufacturing Firearms Without a License)

     On or about August 30, 2021 , in Lebanon County, within the

Middle District of Pennsylvania, the defendants,

                        [1] SAMUEL SNADER and
                          [2] HECTOR COLON,

aided and abetted by one another, not being licensed dealers and

manufacturers of firearms within the meaning of Chapter 44, Title 18,

United States Code, did willfully engage in the business of dealing and

manufacturing firearms.

     All in violation of Title 18, United States Code, Sections

922(a)(l)(A), 924(a)(l)(D) and 2 and Pinkerton v. United States, 328

U.S. 640 (1946) (Pinkerton liability).




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THE GRAND JURY FURTHER CHARGES:

                                COUNT3
                       18 U.S.C. § 922(a)(l)(A)
               (Engaging in the Business of Dealing and
              Manufacturing Firearms Without a License)

     On or about September 22, 2021 , in Lebanon County, within the

Middle District of Pennsylvania, the defendants,

                        [1] SAMUEL SNADER and
                          [2] HECTOR COLON,

aided and abetted by one another, not being licensed dealers and

manufacturers of firearms within the meaning of Chapter 44, Title 18,

United States Code, did willfully engage in the business of dealing and

manufacturing firearms.

     All in violation of Title 18, United States Code, Sections

922(a)(l)(A), 924(a)(l)(D) and 2 and Pinkerton v. United States, 328

U.S. 640 (1946) (Pinkerton liability).




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THE GRAND JURY FURTHER CHARGES:

                                COUNT4
                       18 U.S.C. § 922(a)(l)(A)
               (Engaging in the Business of Dealing and
              Manufacturing Firearms Without a License)

     On or about November 3, 2021, in Lebanon County, within the

Middle District of Pennsylvania, the defendants,

                        [1] SAMUEL SNADER and
                          [2] HECTOR COLON,

aided and abetted by one another, not being licensed dealers and

manufacturers of firearms within the meaning of Chapter 44, Title 18,

United States Code, did willfully engage in the business of dealing and

manufacturing firearms.

     All in violation of Title 18, United States Code, Sections

922(a)(l)(A), 924(a)(l)(D) and 2 and Pinkerton v. United States, 328

U.S. 640 (1946) (Pinkerton liability).




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THE GRAND JURY FURTHER CHARGES:

                                COUNT5
                       18 U.S.C. § 922(a)(l)(A)
               (Engaging in the Business of Dealing and
              Manufacturing Firearms Without a License)

     On or about December 2, 2021 , in Lebanon County, within the

Middle District of Pennsylvania, the defendants,

                        [1] SAMUEL SNADER and
                          [2] HECTOR COLON,'

aided and abetted by one another, not being licensed dealers and

manufacturers of firearms within the meaning of Chapter 44, Title 18,

United States Code, did willfully engage in the business of dealing and

manufacturing firearms.

     All in violation of Title 18, United States Code, Sections

922(a)(l)(A), 924(a)(l)(D) and 2 and Pinkerton v. United States, 328

U.S. 640 (1946) (Pinkerton liability).




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THE GRAND JURY FURTHER CHARGES:

                      FORFEITURE ALLEGATION

     The allegations contained in Counts 1 through 5 of this

Indictment are hereby realleged and incorporated by reference for the

purpose of alleging forfeiture pursuant to Title 18, United States Code,

Sections 981(a)(l)(C) and 924(d)(l), and Title 28, United States Code,

Section 2461 .

     Pursuant to Title 18, United States Code, Sections 981(a)(l)(C)

and 924(d)(l), and Title 28, United States Code, Section 2461 , upon

conviction of the offenses in violation of Title 18, United States Code,

Sections 371 and 922(a)(l)(A) , the defendants,

                          [1] SAMUEL SNADER, and
                              [2] HECTOR COLON,

shall forfeit to the United States of America, pursuant to Title 18,

United States Code, Sections 981(a)(l)(C) and 924(d)(l), and Title 28,

United States Code, Section 2461 , any property, real or personal,

constituting, or derived from, any proceeds traceable to the violations

charged herein; and any property involved in or used in the violations
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charged herein, including but not ]imited to:

           a.    approximately 28 privately made firearms (PMFs) with
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                 no serial numbers; and

           b.   approximately $27,600 in proceeds that the defendants

                obtained and dissipated as a result of the offenses.

     If any of the property described above , as a result of any act or

omission of the defendant:

           a.    cannot be located upon the exercise of due diligence;

           b.    has been transferred or sold to, or deposited with, a

                 third party;

           c.    has been placed beyond the jurisdiction of the court;

           d.    has been substantially diminished in value; or

           e.    has been commingled with other property which cannot

                 be divided without difficulty,

the United States of America shall be entitled to forfeiture of substitute

property pursuant to Title 21, United States Code, Section 853(p).




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     All pursuant to Title 18, United States Code, Sections 981(a)(l)(C)

and 924(d)(l), and Title 28, United States Code, Section 2461.

JOHN C. GURGANUS
United States Attorney                  TRUE BILL



                                        FOREPERSON
Assistant United States Attorney



                                        Date




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